

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-72,586-01






DAVID DEYOUNG, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS.739074 &amp; 869233 IN THE 230TH JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for writs of habeas corpus in
the 230th Judicial District Court of Harris County, that more than 35 days have elapsed, and that the
application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus applications; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed  an
application for habeas corpus in Harris County.  This application for leave to file a writ of mandamus
shall be held in abeyance until the respondent has submitted the appropriate response.  Such response
shall be submitted within 30 days of the date of this order.



Filed: September 9, 2009

Do not publish	


